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  Co-Counsel for Petitioner

                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


     Mahmoud KHALIL,

                   Petitioner,

     v.

     Donald J. TRUMP, in his official capacity
     as President of the United States; William
     P. JOYCE, in his official capacity as            Case No.: 2:25-cv-01963-MEF-
     Acting Field Office Director of New York,        MEH
     Immigration and Customs Enforcement;
     Caleb VITELLO, Acting Director, U.S.             CERTIFICATION OF
     Immigration and Customs Enforcement;             SERVICE
     Kristi NOEM, in her official capacity as
     Secretary of the United States Department
     of Homeland Security; Marco RUBIO, in
     his official capacity as Secretary of State;
     and Pamela BONDI, in her official
     capacity as Attorney General, U.S.
     Department of Justice,

                   Respondents.

          I, Molly K.C. Linhorst, certify the following:
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        1. I am an attorney admitted to practice before this Court.

        2. On March 25, 2025, my co-counsel Amy Belsher, Esq., effectuated service

           of Petitioner’s Amended Petition and summonses for the two newly-added

           Defendants – President Donald J. Trump and Secretary of State Marco

           Rubio – via email pursuant to an agreement with Respondents’ counsel as

           permitted under Fed. R. Civ. P. 5(b)(2)(F).

        3. Respondents’ counsel confirmed receipt via email on the same day.



  I certify that the foregoing statements made by me are true to the best of my

  knowledge, information, and belief. I am aware that if any of the statements made

  by me are willfully false, I am subject to punishment.



  Dated: April 3, 2025                          s/Molly K.C. Linhorst
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